Case 1:20-cv-00902-RGA Document 162-1 Filed 04/13/22 Page 1 of 3 PageID #: 3840




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                      )
 FREUD AMERICA, INC.,                                 )
                                                      )
                        Plaintiff,                    )
                                                      )
        v.                                            )
                                                      )   C.A. No. 20-902-RGA
                                                      )
 MILWAUKEE ELECTRIC TOOL                              )
 CORPORATION,                                         )
                                                      )
                        Defendant.                    )
                                                      )

                        ENTRY OF FINAL JUDGMENT ON CONSENT

        Plaintiff Freud America, Inc. (“Freud”) and Defendant Milwaukee Electric Tool

 Corporation (“Milwaukee Tool”), having resolved the matters in issue between them, consent to

 entry of final judgment in this matter as follows:

        1.      Freud is the registered owner of U.S. Trademark Registration No. 2,464,769 for

 “the color red as applied to the entire surface of the goods except the cutting edge and annular

 hub or shaft” covering “cutting tools for power woodworking machines, namely, shaper cutters,

 saw blades, router bits and forestner [SIC] bits” (“‘769 Registration”).


        2.      Milwaukee Tool petitioned to cancel the ‘769 Registration with the Trademark

 Trial and Appeal Board (“Board”) of the United States Patent and Trademark Office (“USPTO”)

 in a proceeding styled Opposition No. 92,059,634 on the grounds that the mark is generic and the

 ‘769 Registration was obtained through fraud on the USPTO.
Case 1:20-cv-00902-RGA Document 162-1 Filed 04/13/22 Page 2 of 3 PageID #: 3841




        3.      On December 2, 2019, the Board ordered the partial cancellation of the ‘769

 Registration for “saw blades” on the ground that the mark is generic for those goods (“December

 2, 2019 Decision”).1


        4.      Freud filed a Complaint to appeal the portion of the December 2, 2019 Decision

 cancelling the ‘769 Registration to this Court pursuant to 15 U.S.C. § 1071(b) and requested that

 this Court reverse the December 2, 2019 Decision with respect to the order partially canceling

 the ‘769 Registration for “cutting tools for power woodworking machines, namely . . . saw

 blades” on the grounds of genericness (D.I. 1).


        5.      Milwaukee Tool filed a Cross-Action in which it appealed the December 2, 2019

 Decision not to cancel the ‘769 Registration on the ground that it was obtained through fraud on

 the USPTO, sought a declaratory judgment seeking cancellation of the ‘769 Registration on the

 ground that it was obtained through fraud on the USPTO, and sought a declaratory judgment that

 the ‘769 Registration should be cancelled on the ground of functionality (“Cross-Action”) (D.I.

 16).


        6.      The Parties acknowledge and agree that the portion of the December 2, 2019

 Decision cancelling the ‘769 should be vacated.


        7.      Counsel for both Parties consent to the terms of, and agree to the form and entry

 of, this consent judgment.



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  In the December 2, 2019 Decision, the Board also ordered cancellation of Freud’s U.S.
 Trademark Registration No. 4,028,314 (the “‘314 Registration”), for the color red as applied to
 substantially the entire surface of blades for reciprocating power saws. Freud did not appeal the
 Board’s cancellation of the ‘314 Registration, see D.I. 1 at 9n.2, and the Parties do not seek
 vacatur of the portion of the December 2, 2019 Decision cancelling the ‘314 Registration.
                                                    2
Case 1:20-cv-00902-RGA Document 162-1 Filed 04/13/22 Page 3 of 3 PageID #: 3842




        THEREFORE, IT IS HEREBY ORDERED THAT:


        1.      The Clerk is directed to enter FINAL JUDGMENT in favor of Freud and to

 DISMISS WITH PREJUDICE Milwaukee Tool’s Cross-Action.


        2.      The portion of the Board’s December 2, 2019 Decision cancelling the ‘769

 Registration is VACATED. For avoidance of doubt, the portion of the December 2, 2019

 decision cancelling the ‘314 is not vacated and remains intact.


        3.      The USPTO shall amend the ‘769 Registration to “cutting tools for power

 woodworking machines, namely, shaper cutters, circular saw blades, router bits, and Forstner

 bits; none of the foregoing cutting tools being diamond abrasive blades, diamond abrasive discs,

 or diamond abrasive wheels.”


        4.      Each Party will bear its own costs and attorneys’ fees.


 SO ORDERED,

 This 12th day of April, 2022.



                                                        /s/ Richard G. Andrews
                                                      __________________________________
                                                      The Honorable Richard G. Andrews




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